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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

IN RE: ABBOTT LABORATORIES, et al ., MDL No. 3026
PRETERM INFANT NUTRITION
PRODUCTS LIABILITY LITIGATION        Master Docket No. 1:22 CV 00071

This Document Relates to:                         Judge Rebecca R. Pallmeyer

Diggs v. Abbott Laboratories, Case No. 1:22-CV-
05356


  PLAINTIFF’S OMNIBUS MOTION TO EXCLUDE CERTAIN PROPOSED EXPERT TESTIMONY
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        Under Fed. R. Evid. 702, Plaintiff Keosha Diggs respectfully moves to exclude the testimony

of Abbott’s retained experts, Drs. Camilia Martin, Brian Smith, and Alex Williamson.

I.      Legal Standard
        Fed. R. Evid. 702 allows a court to admit expert testimony only when four conditions are met:

        (a) the expert’s scientific, technical, or otherwise specialized knowledge will help the trier of
        fact to understand the evidence or to determine a fact in issue; (b) the testimony is based on
        sufficient facts or data; (c) the testimony is the product of reliable principles and methods; and
        (d) the expert has reliably applied the principles and methods to the facts of the case.

Brown v. City of Chicago, No. 18 C 7064, 2023 WL 2561728, at *1 (N.D. Ill. Mar. 17, 2023). In making

this determination, courts engage in a three-step analysis which asks “whether the witness is qualified;

whether the expert’s methodology is scientifically reliable; and whether the testimony will assist the

trier of fact to understand the evidence or to determine a fact in issue.” In re Zimmer Nexgen Knee Implant

Prods. Liab. Litig., No. 11 C 5468, 2015 WL 5050214, at *2 (N.D. Ill. Aug. 25, 2015) (internal quotations

and citations omitted). The proponent of the expert testimony bears the burden of showing that the

testimony satisfies that standard by a preponderance of the evidence. Gopalratnam v. Hewlett-Packard

Co., 877 F.3d 771, 782 (7th Cir. 2017).

II.     Law and Argument
        A.      The Court should exclude Dr. Martin, Abbott’s expert on specific causation.
                1.       Dr. Martin’s analysis does not fit the facts of the case.
        Dr. Martin opined on whether formula caused NEC in Kamari’s case, concluding that “[t]he

formula products administered to Kamari did not cause his NEC.” See Martin Report, Sletvold Decl.

Ex. 1, at 35–42. In reaching this conclusion, Dr. Martin relied on her general causation opinion, which

included an epidemiological literature review. 1 Id. at 41–42. Using that literature review, she reached

the conclusion that “(1) high levels of human milk decrease the incidence of NEC and (2) when the



1 Martin’s review of the literature—used for a “dose-response analysis”—is laid out in a chart of studies, the

majority of which use cow’s-milk-based fortifier with human milk as a comparison to unfortified human milk.


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[infant’s] diet contains a certain threshold level of human milk, there is no longer an association

between formula and NEC.” Id. at 22. Dr. Martin defines that “threshold level” as 75% human milk:

        Q.      Okay. What is that certain threshold that you reference on page 22, Doctor?
        A.      Looking at – looking at the studies and the analysis around this, I have – I have
                testified before that it is around 75 percent.
        Q.      Around 75 percent?
        A.      Correct.
        Q.      Okay. Is it 78 percent? Is it 72 percent? I think the judge and the jury is entitled
                to know where that kind of around is, and why it’s around.
        A.      Sure. I would say 70 – 72 to 78; in that range.

Martin Tr. (vol. 3) (Feb. 12, 2025), Sletvold Decl. Ex. 2, at 43:1–19 (objection omitted). This means

that if an infant’s diet was more than 25% formula, Dr. Martin’s analysis does not apply.

        Kamari was fed at least 90% formula—a fact Dr. Martin does not dispute. Id. at 36:6–8. Dr.

Martin conceded that her dose-response opinion would be “wholly inapplicable” to Kamari’s case:

        Q.      In this case, Kamari had probably 90 to 99 percent formula, correct?
        A.      Yes.
        Q.      And in fact, he – okay. So I just want to be clear. All of your opinions in your
                general causation portion of the Diggs report related to the 75 percent of
                human milk kind of dose opinion that you gave, would be wholly inapplicable
                to Kamari Diggs, yes?
        A.      Right. Right.

Id. at 36:6–17. This makes her opinion irrelevant to this case.

        An expert’s opinion must be excluded if it does not fit the facts of the case. See Porter v. Whitehall

Lab’ys, Inc., 9 F.3d 607, 616 (7th Cir. 1993); In re Testosterone Replacement Therapy Prods. Liab. Litig.

Coordinated Pretrial Proceedings, No. 14 C 1748, MDL No. 2545, 2017 WL 4772759, at *7 (N.D. Ill. Oct.

23, 2017). In re TRT is instructive. There, the defendant’s expert was excluded because “his proposed

testimony [did] not fit the facts of [the plaintiff’s] case.” Id. The expert based his specific-causation

opinion on the premise that the plaintiff applied the drug in question as prescribed and used the full

recommended dose. Id. The expert testified that he had no opinion as to whether the drug could cause

injury when misapplied or when using less than the recommended dose. Id. But the evidence made




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clear that the plaintiff had not applied the drug as instructed or used the full dose. Id. Because of the

lack of fit, the court excluded the expert’s opinion.

        Dr. Martin’s opinion suffers from almost identical faults. Dr. Martin has unambiguously

testified that her analysis—which is premised upon an infant being fed between 72% and 78% human

milk—does not apply to the facts of the Diggs case. Ex. 2 (Martin Tr.) at 36:6–17. Much like the

expert in TRT, Dr. Martin’s opinion can only be relevant to other plaintiffs, and even then only in

certain circumstances. Her specific-causation opinion should be excluded.

                2.      Dr. Martin should be excluded because her methodology is unreliable.
        Even if Dr. Martin’s analysis did fit the facts of this case, it should still be excluded because it

is the product of an unreliable methodology. In evaluating whether formula-feeding was a cause of

Kamari’s NEC, Dr. Martin relied on her general-causation opinion, asserting that “the presence of

preterm formula does not cause or contribute to the development of NEC. It therefore could not

have caused or contributed to the development of Kamari’s NEC.” Ex. 1 (Martin Rep.) at 41–42. But

the general-causation opinion upon which Dr. Martin relies suffers from fatal methodological flaws.

                        i.      Dr. Martin used an unreliable methodology in her systematic
                                literature review, which lacks support.
        Dr. Martin’s cites three bases for her opinion that the epidemiological literature does not show

a causal relationship between formula and NEC: (1) systematic review, (2) limitations of meta-analyses,

and (3) Bradford Hill. Ex. 1 (Martin Rep.) at 19–24. None of these arguments are based on reliable or

sound methodological principles.

        The faults in Dr. Martin’s methodology are abundant. First, as support for her conclusion that

formula does not cause NEC, Dr. Martin cites the NIH’s funding of over $100 million in NEC

research and that no epidemiological study has concluded that preterm products cause NEC. Id. at 19.

But it is well-established that many medical journals “restrict the use of causal language to the reporting

of randomized clinical trials.” See Case No. 1:22-cv-00071, ECF No. 614-46 (Dahabreh, Issa J. et al.


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Causal Inference About the Effects of Interventions from Observational Studies in Medical Journals. JAMA. 2024;

331(21):1845-1853. Doi:10.1001/jama.2024.7741). This means that a publication may not explicitly

endorse a causal relationship not because one does not exist, but because the journal in which it is

published does not allow such statements. So, contrary to well-established principles in medical and

scientific research, Dr. Martin improperly relies on the absence of causal language as supportive of

her opinion. This is not consistent with the methodology upon which experts in the field would rely,

as required by Rule 702.

        Dr. Martin then argues that scientific literature shows that when premature infants receive “a

small proportion” of human milk in their diet, NEC incidence “may be higher, but this is due to the

low levels of protective components and not anything harmful or causal in formula.” Ex. 1 (Martin

Rep.) at 20. The only support for this ipse dixit conclusion is Dr. Martin’s “dose-response analysis”—

the same one that does not fit the facts of this case because it depends on a 72 to 78% “threshold

level” of human milk. See supra. Beyond its irrelevance to Kamari’s case, the dose-response analysis

suffers from methodological problems. It does not include any guidance or quantitative analysis

regarding what the “protective effect” of human milk is. Dr. Martin even confirmed in her deposition

that she cannot quantify the protection of human milk:

        Q.       Doctor, so let me give you a hypothetical. If a baby is given human milk for
                 30 days, and then switches to formula, and gets to full volume formula feeds
                 within five days after that switch, 30 to 35 days; are you with me so far?
        A.       Yes.
        Q.       How much protective effect did those 30 days of human milk give that baby?
        A.       I don’t think it’s ever been quantified like that. Knowing the biology and
                 physiology of what human milk does, I would have – I would assume a fair
                 amount of protection.
        Q.       You would assume it, but you don’t know, right?
        A.       Well, I don’t think you can do those studies exactly.
        Q.       Right.
        A.       But based on the biology and physiology as we know it, and what exposure to
                 human milk does, 30 days, straight days of human milk and then formula, that’s
                 a lot of good protection for – with the human milk.
        Q.       Well, when you say a lot of protection, and these assumptions you make, how
                 much protection?

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        A.      I don’t think studies can delineate that to that degree.
        Q.      So it is hard to quantify?
        A.      I would say so.

Ex. 2 (Martin Tr.) at 82:1–83:7. Dr. Martin cannot quantify how much protection human milk provides

an infant and does not cite any data to support her conclusory opinion that any increased incidence

of NEC “is due to the low levels of protective components and not anything harmful or causal in

formula.” Ex. 1 (Martin Rep.) at 19. Dr. Martin’s unsupported dose-response analysis should be

excluded.

        Dr. Martin’s analysis generally lacks support, but that becomes even more problematic after

eliminating the sources she cites but cannot use in this litigation. First, Dr. Martin relies on a so-called

“Consensus Statement” by the FDA, NIH, and CDC. 2 Ex. 1 (Martin Rep.) at 22. The Court already

precluded the use of this press release in this litigation. Transcript of Proceedings – Pretrial Conference

in Case No. 1:22-cv-00232 (Apr. 17, 2025), Sletvold Decl. Ex. 3, at 62:11–24. Therefore, any part of

Dr. Martin’s report that relies upon the press release should be excluded.

        Dr. Martin also argues that “historical trends in human data” do not support causation. Ex. 1

(Martin rep.) at 22. To support that proposition, Dr. Martin cites to the Vermont Oxford Network

(“VON”) database. This is a misuse of VON’s proprietary data. As an initial matter, only members

are permitted to use VON data. It is unclear whether Dr. Martin is a member herself, she used the

membership of an institution with which she is affiliated, or she accessed VON data from public




2 “But if formula caused NEC (in addition to human milk protecting against it), there would be two variables,

both driving in the same direction, which should lead to a much more consistent and stronger association. This
supports the scientific consensus—as expressed by the Consensus Statement joined by the FDA, CDC, and
NIH—attributes the associations we see in the literature to the protective components in human milk. If
formula was causing NEC (in addition to human milk protecting against it), we would see a stronger
association.” Ex. 1 (Martin rep.) at 22.


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websites. 3 Regardless of how Dr. Martin accessed the data, VON’s Policy on Data Use specifically

prohibits Dr. Martin’s use of the data in her report:

         In no event shall any member use VON Data, in whole or in part, for any of the
         following purposes: … 3. To make presentations or publish results outside of the
         member’s institution[.]

Vermont Oxford Network Policy on Data Use, Sletvold Decl. Ex. 5, at 2. In other words, no VON

member may use VON data outside of the member’s own institution. Even in the unlikely event that

Dr. Martin used VON data in relation to her own research, the use still violates VON’s Policy and

Guidelines for Collaborative Research Using the Vermont Oxford Network Databases. Vermont

Oxford Network Policy and Guidelines on Collaborative Research Using the Vermont Oxford

Network Databases, Sletvold Decl. Ex. 6. Even assuming Dr. Martin followed the procedures outlined

by VON for collaborative research, including submitting a proposal to VON and including VON staff

members in the research process, Dr. Martin’s research is not “free of commercial bias or conflict of

interest.” Id. at 3.

         Even if Dr. Martin’s use of VON data complied with VON’s requirements, it would be unfair

to allow Dr. Martin’s use of the data in her expert opinion. Ms. Diggs is not a member of VON and

cannot access and use the data in compliance with VON’s policies and user agreements, so she is

prohibited from evaluating the misused data upon which Dr. Martin relies. See EEOC v. Hillstone

Restaurant Group, Inc., No. 22-CV-3108 (JRL) (RWL), 2025 WL 1285740, at *1 (S.D.N.Y. May 2, 2025)

(requiring subpoena for third-party data because the terms of use would prohibit the defendant from

using the data but the defendant needed it to “independently investigate the accuracy of the DOB/age

data on which EEOC will rely”). Ms. Diggs cannot be forced to violate VON’s use policies to defend


3 Dr. Martin testified that she obtained the data through VON’s “publicacly [sic] available website.” Martin Tr.

(vol. 1) (Feb. 11, 2025), Sletvold Decl. as Ex. 4, at 389:10-21). Ms. Diggs was unable to access the databases
through VON’s public website without membership credentials. https://public.vtoxford.org/. Further, Dr.
Martin’s Third Amended Reliance List, items 432–449, reference VON database summaries, which Ms. Diggs
cannot obtain or access. See Third Amended Reliance List of Dr. Camilia Martin, Sletvold Decl. as Ex. 7.


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against Dr. Martin’s reliance on data that was improperly used in the first place. References to VON

sources should be excluded.

       After removing the press release and VON data, neither of which can serve as the basis for

her opinion, Dr. Martin’s questionably supported analysis becomes glaringly lacking in support. It is

pure ipse dixit and should be excluded.

                       ii.     Dr. Martin’s lack of a meta-analysis makes her epidemiological
                               review incomplete and unreliable.
       Moving past the methodological issues with Dr. Martin’s systematic literature review and

corresponding dose-response analysis, more issues arise from her lack of a meta-analysis. Although

meta-analysis is a reliable and widely accepted methodology, Dr. Martin did not conduct a meta-

analysis, claiming that “the epidemiological literature and data do not readily lend themselves to a

meta-analysis” and noting the variability in randomized controlled studies (“RCTs”). Ex. 1 (Martin

Rep.) at 23. Instead, Dr. Martin created her own methodology: combining RCTs to support her

opinion regarding the threshold use of 75/25% dose response for finding that there is nothing harmful

or causal in formula. Dr. Martin’s own arbitrary and unsupported methodology replaced the “time-

honored approach of reviewing the literature, which is characteristic of science, and placing it in a

standardized framework with quantitative methods for estimating risk.” See Fed. Jud. Ctr. Reference

Manual on Scientific Evidence (“RMSE”) at 607 (3d ed. 2011).

       Then Dr. Martin took a step even further from the well-established scientific methodology of

a meta-analysis by completely ignoring observational studies. Dr. Martin noted that observational

studies should not be combined with RCTs in a meta-analysis, but did not analyze observational

studies independently of RCTs either. Ex. 1 (Martin Rep.) at 23. Instead, she summarily discounted

them as “less reliable” and excluded them from the general-causation analysis upon which she based

her specific-causation analysis. Id. at 24. This is not only inconsistent with standard methodological

principles of epidemiology, but is also inconsistent with Dr. Martin’s stated methodology. Id. at 6


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(stating she considered cohort studies, case-control studies, and case reports). An expert’s own

methodology (which she does not follow to the letter anyway) is not a reliable basis for a conclusion

admissible under Rule 702.

                         iii.   Dr. Martin’s analysis of Bradford Hill factors is unsupported and
                                unreliable.
        Finally, Dr. Martin addresses a Bradford Hill analysis. This section of her report predominantly

consists of Dr. Martin lodging her disagreement with the Bradford Hill analysis of Plaintiff’s

epidemiologist Dr. Spector. Id. at 23–24. Dr. Martin does not cite a single source in support of her

disagreement with any Bradford Hill factor, save one. The lone Bradford Hill factor that Dr. Martin

addresses with support is temporality. She disputes Dr. Spector’s assertion that “it stands to reason”

that the studies, by design, involved preterm infants who were fed preterm formula prior to developing

NEC. Id. at 24. She cites a study to support her proposition that there is variability in lengths of time

between exposure and NEC. Id. Ms. Diggs does not disagree with that proposition, but it is

disconnected from Dr. Martin’s conclusion that it “removes temporality as a consistently met criterion

of Bradford Hill analysis.” Id. Time between exposure to formula and NEC can vary; this does not

change the fact that exposure to formula preceded a NEC diagnosis in the studies Dr. Spector used

in his analysis.

        This Bradford Hill analysis is nothing but more ipse dixit from Dr. Martin. If anything, it is

solely an attempt to discredit Dr. Spector (who has already survived the Rule 702 phase of this

litigation) rather than to bolster Dr. Martin’s own opinion. It should be excluded.

        B.         The Court should exclude Dr. Smith, Abbott’s other expert on specific
                   causation.
                   1.    Dr. Smith’s analysis is based on a faulty methodology.
        Dr. Smith’s case-specific analysis and conclusions were based on a review of Kamari’s and Ms.

Diggs’s medical records and of certain scientific literature. Smith Report, Sletvold Decl. Ex. 8, at 6.

But Dr. Smith’s conclusion about whether formula caused Kamari to contract NEC was based entirely

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on his general-causation opinion. Id. at 14. He concluded that, “as outlined in [his] opinions above,

preterm infant formula products do not cause or substantially contribute to the development of NEC

in premature infants.” Id. And those opinions are unreliable because they are based on a flawed

analysis.

        Dr. Smith’s analysis was faulty for two reasons. First, he built his methodology using that of

the Working Group on NEC, which explicitly did not reach a conclusion on causation. Second, he

excluded numerous relevant studies from his analysis.

                        i.      Dr. Smith based his “methodology” on that of the Working
                                Group on NEC, which did not analyze causation.
        Dr. Smith’s methodology was conceived from another group’s methodology that was not

intended to reach a causal conclusion. Dr. Smith’s “reliance on the overall strength and direction of

association and consistency of the scientific literature is also consistent with the approach taken by

the Department of Health and Human Services NACHHD Working Group on NEC in Preterm

Infants.” Ex. 8 (Smith Rep.) at 6. The Working Group explicitly stated in its report, however, that its

“charge and timeframe did not allow for the application of frameworks to determination [sic] causation

versus association, or to systematically evaluate the certainty of evidence.” ECF No. 605-2, PageID

#14345. Employing the same methodology elsewhere can only lead to the same result—an inability

to differentiate between causation and association.

        Dr. Smith’s adoption of the Working Group’s methodology is suspect enough, but he goes on

to rely on the contents of the Working Group report to deny causation:

        The Department of Health and Human Services NACHHD Working Group on NEC
        in Preterm Infants recently recognized this, concluding that “[a]vailable evidence
        supports the hypothesis that it is the absence of any human milk in an infant’s diet that
        is associated with a higher risk of NEC.” This report explained that “much of the
        current evidence shows only associations, not direct or indirect causation linking
        biological pathways to risk factors for development and/or progression of NEC” and
        that “[s]tudies showing an association between a risk factor and the development of
        NEC do not necessarily mean that the factor causes NEC.”



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Ex. 8 (Smith Rep.) at 10. In other words, Dr. Smith represented the Working Group report as

conclusive evidence that formula does not cause NEC. Allowing such testimony would not only give

the false impression that the Working Group reached a conclusion regarding causation, which it

expressly said it did not, but would also violate the Court’s order precluding statements describing the

Working Group report as “conclusive.” Ex. 3 (Pretrial Hearing Tr.) at 62:11–24.

        But that is not the only part of Dr. Smith’s report that violates the Court’s ruling. Dr. Smith

also uses the so-called “consensus statement,” which the Court excluded, to bolster his argument:

        This conclusion was recently reaffirmed by a joint NIH, FDA, and CDC consensus
        statement: “There are two key points about feeding practices and NEC: 1) There is no
        conclusive evidence that preterm infant formula causes NEC; and 2) there is strong
        evidence that human milk is protective against NEC. Available evidence supports the
        hypothesis that it is the absence of human milk—rather than the exposure to
        formula—that is associated with an increase in the risk of NEC.”

Ex. 8 (Smith Rep.) at 10. The press release (masquerading as a consensus statement) has been excluded

by the Court because it is misleading, suggesting that the Working Group reached a definitive

conclusion that formula does not cause NEC, when the Working Group itself makes clear that it did

not reach such a conclusion. Dr. Smith’s testimony regarding the press release should be excluded—

but his reliance on the Working Group for methodological and substantive guidance also supports

excluding his opinion.

                         ii.     Dr. Smith excluded studies that were not randomized controlled
                                 trials even if they were relevant to his analysis.
        Dr. Smith’s methodology included a literature review. After conducting an initial search for

literature using specific search terms, 4 Dr. Smith narrowed down the pool of studies to review for his

report by reading each study’s title and abstract. Ex. 8 (Smith Rep.) at 5. He “identif[ied] studies that

appeared to meet [his] predefined eligibility criteria[,]” which included:


4 Dr. Smith’s search terms were limited to “Breast milk,” “Prolacta,” “Donor Breast Milk,” “Necrotizing

Enterocolitis” OR “Necrotising Enterocolitis,” and “Medolac.” Curiously, his search terms did not include any
words or phrases related to cow’s-milk-based formula. Ex. 8 (Smith rep.) at 5.


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            •   Patient Population: Premature (<37 weeks completed gestational age) or very
                low birth-weight infants (birthweight <1500 g).
            •   Intervention: Primarily human milk or human milk product.
            •   Control: Diet containing some portion of bovine derived preterm formula and
                fortifier products.
            •   Outcomes: NEC (primary or secondary outcomes).
            •   Study Design: Randomized controlled trials (RCT).

Id. This list of criteria automatically excluded studies that were not randomized controlled trials even

when they contained relevant information for his analysis.

        When an area of scientific study has lost equipoise, it is no longer ethical to conduct RCTs.

See In re Abbott Laby’s, et al., Preterm Infant Nutrition Prods. Liab. Litig., No. 22 C 00071, MDL No. 3026,

2025 WL 1283927, at *2 n.3 (N.D. Ill. May 2, 2025) (“The study observes the difference in outcomes

between the two groups of participants, and any RCT must end (for ethical reasons) the moment

researchers have reason to suspect that exposure to the agent is harmful.”). Where there is a lack of

equipoise, other types of studies may be ethically conducted instead—namely, observational studies

such as cohort studies and case-control studies. Id. These studies can be just as useful as RCTs in

gathering information about a study topic.

        Excluding non-RCTs from a literature review eliminates valuable data that can help inform an

expert’s opinion. Dr. Smith’s automatic exclusion of all non-RCTs from his primary analysis prevented

him from reviewing numerous relevant, useful studies that his search returned, including:

    •       Richard J. Schanler, et al., Feeding Strategies for Premature Infants: Beneficial Outcomes of
            Feeding Fortified Human Milk Versus Preterm Formula, 103 Pediatrics 1150 (1999) (“The
            incidence of necrotizing enterocolitis and late-onset sepsis was less in the FHM
            group.”), Sletvold Decl. Ex. 9.
    •       Amy B. Hair, et al., Beyond Necrotizing Enterocolitis Prevention: Improving Outcomes with an
            Exclusive Human Milk-Based Diet, 11 Breastfeeding Med. 70 (2016) (“The HUM group
            had significantly lower incidence of proven NEC (16.7% versus 6.9%, p < 0.00001),
            mortality (17.2% versus 13.6%, p = 0.04), late-onset sepsis (30.3% versus 19.0%, p <
            0.00001), ROP (9% versus 5.2%, p = 0.003), and BPD (56.3% versus 47.7%, p =
            0.0015) compared with the BOV group.”), Sletvold Decl. Ex. 10.
    •       Syed M. Assad, et al., Decreased cost and improved feeding tolerance in VLBW infants fed an
            exclusive human milk diet, 36 J. Perinatology 216 (2016) (“Feeding intolerance occurred


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            less often (P<0.0001), number of days to full feeds was lower (P<0.001), incidence of
            NEC was lower (P<0.011), and total hospitalization costs were lower by up to
            $106,968 per infant (P<0.004) in those fed an EHM diet compared with the other
            groups.”), Sletvold Decl. Ex. 11.
    •       Juliane Spiegler, et al., Does Breastmilk Influence the Development of Bronchopulmonary
            Dysplasia?, 169 J. Pediatrics 76 (2016) (“Exclusive formula feeding of very low birth
            weight infants was associated with increased risks of BPD (OR 2.6) as well as NEC
            (OR 12.6) and ROP (OR 1.80) after controlling for known risk factors.”), Sletvold
            Decl. Ex. 12.
    •       Paula M. Sisk, et al., Necrotizing Enterocolitis and Growth in Preterm Infants Fed Predominantly
            Maternal Milk, Pasteurized Donor Milk, or Preterm Formula: A Retrospective Study, 34 Am. J.
            Perinatology 676 (2017) (“NEC rates were different by feeding group (MM: 5.3%;
            PHDM: 4.3%; PF: 11.4%; p = 0.04).”), Sletvold Decl. Ex. 13.
    •       Wenjing Peng, et al., The Association of Human Milk Feeding With Short-Term Health
            Outcomes Among Chinese Very/Extremely Low Birth Weight Infants, 38 J. Human Lactation
            670 (2022) (“Exclusive human milk feeding was associated with lower odds of
            necrotizing enterocolitis (2.90% vs. 8.42%, OR 0.33, 95% CI [0.22, 0.47]… compared
            with formula feeding.”), Sletvold Decl. Ex. 14.

See generally Ex. 8 (Smith Rep.). Each of these non-RCTs measured NEC as a study outcome, showed

that human milk is associated with lower rates of NEC, and included that information in the abstract,

meaning it would have been included if Dr. Smith’s methodology did not wantonly exclude non-RCTs.

Those studies’ inclusion likely would have changed the outcome.

        Those studies were excluded from Dr. Smith’s primary analysis, but were included in his

secondary analysis. Id. at B-1–B-5. But he never analyzed other relevant studies that his search returned,

such as:

    •       Daniel J.C. Berkhout, et al., Risk Factors for Necrotizing Enterocolitis: A Prospective
            Multicenter Case-Control Study, 114 Neonatology 277 (2018) (“Formula feeding and
            prolonged (duration of) parenteral feeding were associated with an increased risk of
            NEC.”), Sletvold Decl. Ex. 15.
    •       Aleksandra Kaplina, et al., Necrotizing Enterocolitis: The Role of Hypoxia, Gut Microbiome,
            and Microbial Metabolites, 24 Int. J. of Molecular Sciences 2471 (2023) (“Breast milk
            administration and probiotics are known to effectively protect against NEC, while
            abnormal bacterial colonization and formula feeding are major postnatal factors
            contributing to NEC, apart from prematurity.”), Sletvold Decl. Ex. 16.
    •       Maria Quigley, et al., Formula versus donor breast milk for feeding preterm or low birth weight
            infants, Cochrane Database Sys. Review (2019) (“Formula feeding increased the risk of
            necrotising enterocolitis (typical risk ratio (RR) 1.87, 95% CI 1.23 to 2.85; risk
            difference (RD) 0.03, 95% CI 0.01 to 0.05; number needed to treat for an additional



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           harmful outcome (NNTH) 33, 95% CI 20 to 100; 9 studies, 1675 infants).”), Sletvold
           Decl. Ex. 17.

See generally Ex. 8 (Smith Rep.). Dr. Smith’s failure to even consider these studies skews his

methodology even further in favor of Abbott’s position for no legitimate methodological reason—

these studies meet the same criteria as the non-RCTs he included in his secondary analysis. This flawed

methodology shows that Dr. Smith’s opinions are unreliable and his testimony should be excluded.

               2.      Dr. Smith should be excluded because his testimony is duplicative of
                       Dr. Martin’s testimony.
       Dr. Smith’s testimony is not only unreliable, but duplicative. Both Dr. Smith and Dr. Martin

opine on specific causation and, unsurprisingly, both reach the conclusion that Abbott wanted—that

Kamari’s NEC was not caused by formula because formula does not cause NEC, but human milk

protects against it. The two even phrased their conclusions similarly, with Dr. Smith saying:

       Feeding with bovine-derived preterm infant formula is often described as a risk factor
       for NEC due to the association described above. However, there is an important
       difference between associations and causation. In fact, as outlined in my opinions
       above, preterm infant formula products do not cause or substantially contribute to the
       development of NEC in premature infants. Instead, it is the absence of human milk—
       especially mother’s own milk—that explains the associations shown in some studies
       between bovine-derived preterm infant formula products and NEC. As explained
       above, it is not possible to infer a causal relationship between bovine-derived preterm
       infant formula products and NEC in premature infants generally, and thus, I cannot
       attribute Kamari’s specific case of NEC to formula. Further, Kamari received almost
       exclusively formula for over a week. During this week, he had no issues with feeding
       tolerance—he did not have significant residuals, did not have emesis, abnormal
       stooling, nor abdominal distention, and was growing well. In addition, given Kamari’s
       gestational age and birthweight, he would have been excluded from almost all of the
       randomized trials and cohort studies that examine the association of bovine derived
       products and NEC because he did not meet the eligibility criteria. Therefore, the
       randomized controlled studies, observational studies, and meta-analyses or
       epidemiological summaries that Plaintiff’s experts cite and rely upon do not apply to
       Kamari.

Id. at 14. Meanwhile, Dr. Martin said:
       Preterm formula has been identified as an associative risk factor for NEC. As
       discussed above, however, while preterm formula has been associated with NEC, the
       presence of preterm formula does not cause or contribute to the development of
       NEC. It therefore could not have caused or contributed to the development of


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        Kamari’s NEC. In any event, there is no mechanism by which any nutritional
        composition administered to premature infants in the NICU could cause NEC.
        Kamari tolerated preterm formula for more than a week before he was diagnosed with
        NEC—he had no significant aspirates, no abdominal distention, or bloody stools
        during this time. He was gaining weight as expected, against indicating that he was
        tolerating and growing while receiving Abbott’s preterm formula. Further, given his
        birthweight and gestational age, he would be excluded from nearly all randomized
        clinical trials and cohort studies that include NEC as an observed clinical outcome.
        And, as discussed above, there is no mechanism of action by which preterm infant
        formula causes NEC and the epidemiological literature does not support that preterm
        formula causes NEC—particularly as to infants at Kamari’s gestational age and
        birthweight. Therefore, I have ruled out formula as a potential cause of or substantial
        contributing factor in causing Kamari’s NEC.

Ex. 1 (Martin Rep.) at 41–42. These conclusions are suspiciously similar, both saying that Kamari had

tolerated formula feeds for a week before developing NEC, that he would be excluded from clinical

trials because of his gestational age and birthweight, that there is a difference between association and

causation, and more. There is no need for the jury to hear the exact same information from two

experts. Dr. Smith’s duplicative and needlessly cumulative testimony should be excluded. 5

        C.       The Court should exclude Dr. Williamson, Abbott’s expert on pathology.
                 1.      Dr. Williamson’s testimony should be excluded because it is irrelevant.
        Dr. Williamson’s testimony should be excluded because it is irrelevant. Evidence can only be

helpful to a trier of fact if it is relevant, so an expert’s testimony may be excluded where the proponent

cannot use it to support any element of the claim at issue. See, e.g., Jones v. Nat’l Council of Young Men’s

Chirstian Ass’ns. of the United States of America, 34 F. Supp. 3d 896, 901 (N.D. Ill. 2014) (excluding an

expert’s opinions where “they are not relevant to establishing the plaintiffs’ disparate impact claims[,]”

which were the only claims in the litigation); Fairley v. Andrews, No. 03 C 5207, 2011 WL 2142800, at

*4 (N.D. Ill. May 31, 2011) (“In other words, there has to be a connection between [the expert]’s

expert opinions and the remaining claim in this lawsuit for his opinions to fulfill the helpfulness

standard under Rule 702 because ‘[e]xpert testimony which does not relate to an issue in the case is



5 In the alternative, Dr. Martin’s testimony should be excluded as being duplicative of Dr. Smith’s testimony.




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not relevant, and ergo, not helpful.’”). Dr. Williamson does not opine on any element of Ms. Diggs’s

claims, so his testimony should be excluded.

        Dr. Williamson’s opinion applies strictly to whether Kamari was exposed to an infection in

utero. Report of Dr. Alex Williamson, Sletvold Decl. as Exhibit 18, at 6. That fact has no bearing on

the resolution of this case—the question at hand is whether Abbott’s preterm infant formula caused

Kamari to suffer from NEC, not whether he was exposed to infection. And Dr. Williamson does not

relate his conclusion about infection back to NEC.

        In fact, Dr. Williamson hardly mentions NEC in his report, and when he does, it is in a

statement of fact that is not disputed. 6 He took a step even farther from relevance in his deposition,

where he testified specifically that his opinion does not go to causation:

        Q.       And you don’t talk about or address the question of how Kamari came to have
                 necrotizing enterocolitis either?
        A.       I did not specifically comment on necrotizing enterocolitis or how he came to
                 have it.
        Q.       And you’re not addressing and you won’t offer an opinion as to the cause of
                 the NEC either in Baby Mar, correct?
        A.       Correct, not the cause of necrotizing enterocolitis.
        Q.       And not the cause of – of NEC in Kamari Brown; is that right?
        A.       Correct. I just – I may address risk factors that may be associated with those
                 outcomes, but not the cause of the outcome in each of those specific patients.
                 So generalized terms, generalized discussions, but not specifically related to
                 Mar or Diggs.

Williamson Tr. (Jan. 10, 2025), Sletvold Decl. Ex. 19, at 134:23–135:19. And that testimony about risk

factors is puzzling, as Dr. Williamson proceeded to testify that his report does not discuss risk factors

for NEC and that he would not offer an opinion outside the bounds of his report:

        Q.       And you don’t actually address risk factors in your – in either of these reports?

6 Dr. Williamson’s references to NEC in his report are limited to the following: “I have performed or reviewed

dozens of postmortem examinations in the setting of preterm birth, I have performed or reviewed
approximately a dozen postmortem examinations involving clinical necrotizing enterocolitis, and I have
reviewed nearly two dozen surgical specimens resected from children with clinically suspected necrotizing
enterocolitis.”; “On February 17, 2015, medical records show that Kamari remained in the NICU and had gas
in his gastrointestinal tract that continued to spread throughout his intestine, consistent with a diagnosis of
NEC.” Ex. 18 (Williamson Rep.) at 2, 4.


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        A.      Not in writing, no. Not – not in either report.
        Q.      And you do not intend to offer an opinion outside the opinions that you’ve
                expressed in these reports?
        A.      No, not at this time, I do not.

Id. at 135:20–136:4.

        In other words, Dr. Williamson offers no opinion about what caused Kamari to develop NEC

or what risk factors may have contributed to Kamari’s NEC—the issues upon which this case is

centered. Dr. Williamson only offers an opinion about whether Kamari was exposed to an infection

in utero, and even that he cannot testify to with certainty:

        Q.      And you cannot say to a reasonable degree of medical certainty that Kamari Brown
                had an infection while in utero?
        A.      Correct.

Id. at 14:1–6 (objection omitted). This amounts to nothing more than speculation about an infection

to which Kamari might have been exposed. It cannot help the jury reach a conclusion on any of the

outstanding issues and therefore should be excluded.

                2.       Dr. Williamson’s testimony should be excluded because it lacks analysis
                         and is therefore unhelpful.
        Even if Dr. Williamson’s testimony was relevant (it is not), it should be excluded because it is

not helpful to the trier of fact due to its lack of analysis. In a products-liability context, a proffered

expert opinion that “offers no analysis or discussion of any particular element of [a] plaintiff’s complex

medical history” is inadmissible. Teran v. Coloplast Corp., 633 F. Supp. 3d 1103, 1112 (N.D. Ill. 2022).

An expert’s testimony may also be inadmissible if the expert “offer[s] merely a bottom line, as doing

so supplies nothing of value to the judicial process.” Id. It is “a classic example of expert ipse dixit.” Id.

        In Teran, the plaintiff’s expert offered a one-paragraph statement of his opinions, which were

based on the totality of the medical records he reviewed. Id. The court held that his opinion was “just

[the] type of unhelpful ‘bottom line’” that should be excluded under Rule 702. Id. Dr. Williamson’s

opinion is much the same.



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        Dr. Williamson’s opinions are contained within three paragraphs of his 43-page report. 7 They

read as follows:

        Amniotic fluid inflammation—which in this case includes chorioamnionitis and cord
        phlebitis and arteritis—is consistent with infection of the amniotic sac, which
        commonly accompanies preterm premature rupture of membranes (“PPROM”). In
        this case, both the mother and fetus demonstrated evidence of an inflammatory
        response. Chorioamnionitis is often seen as a condition of PPROM when the uterine
        environment becomes open to the external environment, allowing bacteria to ascend
        from the vagina, through the cervix, and into the uterine cavity. Ms. Diggs was
        diagnosed with PPROM before she gave birth to Kamari. The uterine environment
        should be a sterile place (i.e., without bacteria) for the fetus to grow and develop. In
        this case, however, the unborn infant’s immune system responded to the likely
        amniotic fluid infection he was exposed to in utero before he was delivered.

        The focal accelerated villous maturation probably reflects localized maternal vascular
        malperfusion, which, depending on its extent, can impact the exchange of nutrients
        between a mother and her fetus.

        Here, my observations and findings of the placental pathology are consistent with Dr.
        Alexiev’s surgical pathology report, indicating that the fetus was likely exposed to
        infected amniotic fluid.

Ex. 18 (Williamson Rep.) at 6. Not only is this abbreviated opinion based on circumstantial

probabilities (e.g., “the unborn infant’s immune system responded to the likely amniotic fluid

infection”), but it is also devoid of analysis. Half of the first paragraph is spent explaining the

relationship between PPROM and amniotic fluid inflammation. The other half explains that Ms. Diggs

was diagnosed with PPROM before giving birth to Kamari and explains how bacteria in the uterine

environment can be harmful, but it does not explain why Dr. Williamson believes this affected Kamari

or how he reached that conclusion.

        The second paragraph provides that localized maternal vascular malperfusion can impact the

exchange of nutrients between mother and unborn child depending on its extent. Dr. Williamson does

not detail the extent of the condition in Kamari’s case or explain the impact on the exchange of


7 Only five of the 43 pages of the report contain substantive discussion. The other 38 pages consist of a cover

page, Dr. Williamson’s curriculum vitae, images of the slides Dr. Williamson examined, a list of sources Dr.
Williamson considered, and a table of Dr. Williamson’s previous experiences testifying.


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nutrients that it caused. In other words, Dr. Williamson’s opinion is based on generalized statements

that cannot be applied directly to Kamari—at least not using only the information from Dr.

Williamson’s report.

       The third paragraph simply states that Dr. Williamson’s conclusions are consistent with

Kamari’s doctor’s pathology report, which indicated a likely exposure to infected amniotic fluid. This

cannot help the jury—it is simply cumulative evidence, presented to prove a fact that can be proven

through more reliable evidence (Keosha Diggs’s medical records) and that is not in contention anyway.

The evidence should be excluded.

               3.      Dr. Williamson’s testimony should be excluded because it will mislead
                       the jury.
       Dr. Williamson’s testimony is also inadmissible because it is misleading. An expert’s testimony

may be excluded where it is speculative and will mislead the jury. See Calvente v. Ghanem, No. 20-CV-

03366, 2022 WL 4272779, at *9 (N.D. Ill. Sept. 15, 2022) (“It is speculative and misleading to suggest,

as Dr. Zaeske’s opinion does, that Plaintiff is currently qualified for tenure at UNC or that Plaintiff

was qualified for tenure at DePaul in 2019 when DePaul denied her tenure.”). That is yet another

problem with Dr. Williamson’s testimony: he cannot say with the requisite certainty whether Kamari

was exposed to an infection in utero. Ex. 19 (Williamson Tr.) at 14:1–6. All he can say is that there

was amniotic fluid inflammation, which he cannot definitively attribute to an infection:

       Q.      So your review of the placental slides confirmed amniotic fluid inflammation or
               histological chorioamnionitis. Is that right?
       A.      Yes. Amniotic – there’s various terms: amniotic sac infection, chorioamnionitis,
               amniotic fluid inflammation. And I will actually clarify, as a pathologist I diagnose
               inflammation. Infection’s the most common cause of inflammation, but I don’t
               necessarily – I can’t tell by looking at this tissue that infection’s the cause. That’s
               where clinical correlation comes in. It’s the most common cause, but I diagnose
               inflammation, “itis.” So there’s amniotic fluid or sac or cavity inflammation,
               including maternal inflammatory response and fetal inflammatory response.
       Q.      And that’s all you can diagnose from looking at these slides. Is that right?
       A.      Yes, with their stage and their grade. In terms of the inflammation, yes, that’s all
               that was present in this case. I can diagnose a lot of other things, but they’re not
               present in this case.


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Id. at 118:24–120:5. This does not prove that there was an infection, let alone that the infection

affected Kamari. But it will mislead the jury into believing that a possible undiagnosed infection

contributed to Kamari’s development of NEC.

        Dr. Williamson’s testimony is also misleading because its speculation that Kamari was exposed

to an infection directly contradicts Kamari’s medical records without addressing the inconsistency.

When he was first admitted to the NICU, the hospital took a blood culture and started him on

antibiotics because they were concerned about a potential infection. Medical Record of Kamari Brown

(May 10, 2015) (Minor-KB-UniversityMMC-MD-002426-003054), Sletvold Decl. Ex. 20, at 002446.

The records confirm that “[h]is blood culture and CSF cultures were negative.” Id. In other words,

Kamari did not have an infection, even if there was inflammation in the placental pathology. This destroys

any credibility that Dr. Williamson’s report may have had—there was no infection, so exposure to a

possible infection that Dr. Williamson cannot confirm anyway could not have affected Kamari.

        In addition to being blatantly wrong, Dr. Williamson’s testimony is all the more misleading in

light of the medical records. The records confirm that Kamari did not have an infection. But Dr.

Williamson intends to tell the jury that he believes Kamari did have an infection, based on nothing but

placental slides and speculation. He did not examine Kamari or test him for infections when Kamari

was born. And he makes clear that he can only diagnose inflammation, not infection. Ex. 19

(Williamson Tr.) at 118:24–120:5. Allowing Dr. Williamson to testify to this would improperly lead

the jury to believe that Kamari suffered from an infection before he developed NEC and draw the

incorrect conclusion that this supposed infection caused Kamari to develop NEC (even though Dr.

Williamson explicitly declined to opine on what caused Kamari to get NEC). Abbott has no use for

this testimony other than to improperly prod the jury toward this conclusion. The testimony should

be excluded.




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Dated: June 2, 2025                     Respectfully submitted,

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